
PER CURIAM.
Petition dismissed. See Reeves v. Fleetwood Homes of Fla., Inc., 889 So.2d 812, 822 (Fla. 2004) (holding that "to obtain a writ of certiorari, there must exist (1) a departure from the essential requirements of the law, (2) resulting in material injury for the remainder of the case (3) that cannot be corrected on postjudgment appeal") (quoting Bd. of Regents v. Snyder, 826 So.2d 382, 387 (Fla. 2d DCA 2002) ). See also Williams v. Oken, 62 So.3d 1129, 1132 (Fla. 2011) (recognizing that "[t]he last two elements are jurisdictional and must be analyzed before the court may even consider the first element").
